          Case 2:24-cv-00050-AM Document 4-1 Filed 06/12/24 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

MONICA M. GALLEGOS, Individually as                §
Wrongful Death Beneficiary and as                  §
Representative of the Estate of A.G.R.,            §
Deceased minor,                                    §
                     Plaintiff,                    §
                                                   §
v.                                                 § Civil Action No. 2:24-cv-000050-AM
                                                   §
JUAN MALDONADO, et al                              §
             Defendants.                           §

                                             ORDER

       ON THIS, the day of signing, came to be considered the Unopposed Motion of Pedro

“Pete” Arredondo for an Extension of the Deadline to File His Answer or Other Responsive

Pleading to Plaintiff’s Original Complaint. The Court, having considered the unopposed motion

and any responses thereto, finds that it should be granted.

       IT IS, THEREFORE, ORDERED, ADJUDGED, and DECREED that the Unopposed

Motion of Pedro “Pete” Arredondo for an Extension of the Deadline to File His Answer or Other

Responsive Pleading is GRANTED and that Defendant Pedro “Pete” Arredondo shall have until

July 21, 2024, in which to file his Response to Plaintiff’s Original Complaint.

                                                 Signed this _______ day of ____________ 2024.



                                                              ____________________________
                                                              CHIEF UNITED STATES
                                                              DISTRICT JUDGE




Order                                                                                        1
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